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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 M.B. COTTINGHAM,

                         Plaintiff,

                 v.                                 Civil Action No. 18-1684 (ESH)

 SEAN LOJACONO,

                        Defendant.




                                      SCHEDULING ORDER

       The parties appeared before the Court on October 3, 2018, for an initial scheduling

conference. Based on the joint Local Civil Rule 16.3 Report to the Court and the representations

of counsel, it is hereby ORDERED that

       1.       Discovery shall be completed by April 3, 2019. Counsel must resolve all

discovery disputes or bring them to the Court=s attention in a timely manner so as to allow

sufficient time for the completion of discovery by this date.

       2.       Discovery material shall not be filed with the Court except as provided in Local

Civil Rule 5.2(a) and Federal Rule of Civil Procedure 5(d).

       3.       Each party is limited to a maximum of 25 interrogatories to any other party.

Responses to all interrogatories are due 30 days after service. See Fed. R. Civ. P. 33.
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        4.       Each party is limited to a maximum of 20 requests for admission to any other

party. Responses to all requests for admission are due 30 days after service. See Fed. R. Civ. P.

36.

        5.       Each party is limited to a maximum of 10 depositions (including expert

depositions) and no deposition shall exceed 7 hours unless both parties agree or unless

authorized by the Court. Fed. R. Civ. P. 30(d); LCvR 26.2(c).

        6.       Reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) by plaintiff’s retained experts are

due by February 3, 2019.

        7.       Reports pursuant to Fed. R. Civ. P. 26(a)(2)(B) by defendant’s retained experts

are due by March 3, 2019.

        8.       A further status conference is scheduled for April 10, 2019, at 11:00 a.m.

Counsel are to come to that conference prepared to discuss the status of discovery, their

respective settlement positions, and their theories of any then-contemplated dispositive motions.

Counsel must bring full settlement authority to the status conference. If settlement is not

reached, a pretrial conference and trial date will be selected. Counsel should be prepared to

advise the Court of the expected length of trial and of the number of fact and expert witnesses.

Trial counsel must appear at all hearings unless excused by the Court in advance of the hearing

date.

        9.       Dates relating to end of discovery, status conferences and motions practice shall

not be modified, even where all parties consent, except upon a showing of good cause and by

leave of the Court. Fed. R. Civ. P. 16(b); LCvR 16.4. See Olgyay v. Soc’y for Envtl. Graphic

Design, Inc., 169 F.R.D. 219, 219-20 (D.D.C. 1996).
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       10.     Counsel are required to confer in good faith in an effort to resolve all discovery

disputes before bringing the dispute to the Court. If counsel are unable to resolve the discovery

dispute, counsel shall arrange a telephone conference with the Court by contacting Chambers.

Counsel shall not file discovery motions without a prior conference with the Court and opposing

counsel.

       11.     Counsel are expected to evaluate their respective cases for settlement purposes.

Submission to alternative dispute resolution, e.g., mediation or neutral evaluation, is encouraged

and available by request of the Court at any time, as is a settlement conference before a

magistrate judge. If the case settles in whole or in part, plaintiff's counsel shall advise the Court

by promptly filing a stipulation.

       12.     Counsel shall provide Chambers with a courtesy paper copy of any filing over 35

pages in length.

       SO ORDERED.




                                                       _______________________
                                                       ELLEN S. HUVELLE
                                                       United States District Judge

Date: October 3, 2018




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